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                                                     EXECUTIVE OFFICE OF THE PRESIDENT
                                         ANNUAL REPORT TO CONGRESS ON WHITE HOUSE OFFICE PERSONNEL
                                                             WHITE HOUSE OFFICE
                                                           As of: Friday, June 30, 2017

NAME                     STATUS      SALARY       PAY BASIS                                                                         POSITION TITLE
Alexander, Monica K.     Employee    $56,000.00   Per Annum   EXECUTIVE ASSISTANT                          

Ambrosini, Michael J.    Employee    $95,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT AND DIRECTOR OF THE OFFICE OF THE CHIEF OF STAFF

Amin, Stacy C.           Employee   $140,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT AND ASSOCIATE COUNSEL TO THE PRESIDENT

Andersen, Whitney N.     Employee    $94,000.00   Per Annum   DEPUTY DIRECTOR OF OPERATIONS FOR THE WHITE HOUSE MANAGEMENT OFFICE

Anderson, Alexander J.   Employee    $77,000.00   Per Annum   DIRECTOR OF DIGITAL ENGAGEMENT                              

Angelson, Alexander J.   Employee    $95,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT FOR LEGISLATIVE AFFAIRS          

Augustine, Rene I.       Employee   $140,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT AND SENIOR ASSOCIATE COUNSEL TO THE PRESIDENT                

Baitel, Rachael          Employee    $62,000.00   Per Annum   EXECUTIVE ASSISTANT                                         

Baldwin, Brittany L.     Employee    $70,000.00   Per Annum   SPEECHWRITER                                                

Banks, George D.         Employee   $140,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT FOR ECONOMIC POLICY      

Bannon, Stephen K.       Employee   $179,700.00   Per Annum   ASSISTANT TO THE PRESIDENT AND CHIEF STRATEGIST AND SENIOR COUNSELOR     

Barger, Lara R.          Employee    $83,000.00   Per Annum   SENIOR DIGITAL STRATEGIST                                   

Bash, John F.            Employee   $130,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT AND ASSOCIATE COUNSEL TO THE PRESIDENT

Bash, Zina G.            Employee   $140,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT FOR REGULATORY REFORM, LEGAL AND IMMIGRATION POLICY

Beley, James P.          Employee    $47,000.00   Per Annum   WRITER FOR CORRESPONDENCE                                          

Berkowitz, Avrahm J.     Employee   $115,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT AND ASSISTANT TO THE SENIOR ADVISOR

Biddle, Emily K.         Employee    $70,000.00   Per Annum   DEPUTY SOCIAL SECRETARY                                     

Bis, Justin B.           Employee    $62,000.00   Per Annum   DEPUTY ASSOCIATE DIRECTOR                                   

Blair, Patricia A.       Employee   $102,212.00   Per Annum   CHIEF CALLIGRAPHER                                          

Blase, Brian C.          Employee   $115,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT FOR ECONOMIC POLICY      

Block, Monica J.         Employee   $140,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT AND DEPUTY DIRECTOR OF WHITE HOUSE MANAGEMENT AND ADMINISTRATION

Blount, Mallory N.       Employee    $40,000.00   Per Annum   ASSOCIATE DIRECTOR                                          

Blount, Patricia H.      Employee    $61,829.00   Per Annum   RECORDS MANAGEMENT ANALYST                                  

Bock, Caroline E.        Employee   $115,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT AND ASSOCIATE DIRECTOR OF PRESIDENTIAL PERSONNEL    

Boney, Virginia M.       Employee   $115,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT FOR LEGISLATIVE AFFAIRS  



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                                           ANNUAL REPORT TO CONGRESS ON WHITE HOUSE OFFICE PERSONNEL
                                                               WHITE HOUSE OFFICE
                                                             As of: Friday, June 30, 2017

NAME                       STATUS      SALARY       PAY BASIS                                                                  POSITION TITLE
Bonvillian, Marcus D.      Employee    $77,000.00   Per Annum   ASSOCIATE DIRECTOR                                          

Bossert, Thomas P.         Employee   $179,700.00   Per Annum   ASSISTANT TO THE PRESIDENT FOR HOMELAND SECURITY AND COUNTERTERRORISM   

Boza‐Holman, Sofia M.      Employee    $62,000.00   Per Annum   REGIONAL COMMUNICATIONS DIRECTOR                            

Braid, Duncan M.           Employee    $47,000.00   Per Annum   RESEARCH ASSOCIATE                                          

Bremberg, Andrew P.        Employee   $179,700.00   Per Annum   ASSISTANT TO THE PRESIDENT AND DIRECTOR OF THE DOMESTIC POLICY COUNCIL                

Brooke, Mary J.            Employee   $107,435.00   Per Annum   SUPERVISOR OF CORRESPONDENCE REVIEW                         

Brown, Debra S.            Employee    $90,828.00   Per Annum   CALLIGRAPHER                                                

Bucci, Kristine A.         Employee    $47,000.00   Per Annum   RESEARCH ASSOCIATE                                          

Bullock, Katja             Employee   $115,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT AND ASSOCIATE DIRECTOR OF PRESIDENTIAL PERSONNEL    

Burnham, James M.          Employee   $140,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT AND ASSOCIATE COUNSEL TO THE PRESIDENT

Butterfield, Nicholas W.   Employee    $70,000.00   Per Annum   ASSISTANT STAFF SECRETARY                                   

Cabaniss, Anna K.          Employee    $42,000.00   Per Annum   STAFF ASSISTANT                                             

Cairncross, Sean S.        Employee   $165,000.00   Per Annum   DEPUTY ASSISTANT TO THE PRESIDENT AND SENIOR ADVISOR TO THE CHIEF OF STAFF

Callaghan, Christine B.    Employee    $47,000.00   Per Annum   RESEARCH ASSOCIATE                                          

Campau, Alexandra P.       Employee   $115,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT FOR HEALTH POLICY        

Campbell, Frances L.       Employee   $113,755.00   Per Annum   SUPERVISOR FOR DOCUMENT MANAGEMENT AND TRACKING UNIT             

Caporale, Justin R.        Employee    $83,000.00   Per Annum   LEAD ADVANCE REPRESENTATIVE                                 

Carroll, III, James W.     Employee    $47,000.00   Per Annum   STAFF ASSISTANT                                             

Carroll, Jr., James W.     Employee   $140,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT AND SENIOR COUNSEL TO THE PRESIDENT      

Castillo, Hannah J.        Employee    $62,000.00   Per Annum   OPERATIONS MANAGER                                          

Catanzaro, Michael J.      Employee   $115,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT FOR ECONOMIC POLICY      

Chalkey, R Cody J.         Employee    $56,000.00   Per Annum   ASSOCIATE DIRECTOR                                          

Cheap, Casey C.            Employee    $47,000.00   Per Annum   STAFF ASSISTANT                                             

Cheung, Steven             Employee   $115,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT AND DIRECTOR OF SPECIAL COMMUNICATIONS PROJECTS   

Clark, Justin R.           Employee   $165,000.00   Per Annum   DEPUTY ASSISTANT TO THE PRESIDENT AND DIRECTOR OF INTERGOVERNMENTAL AFFAIRS



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                                            ANNUAL REPORT TO CONGRESS ON WHITE HOUSE OFFICE PERSONNEL
                                                                WHITE HOUSE OFFICE
                                                              As of: Friday, June 30, 2017

NAME                        STATUS      SALARY       PAY BASIS                                                                         POSITION TITLE
Claude, Lilia H.            Employee    $67,801.00   Per Annum   INFORMATION SERVICES OPERATOR                               

Clemens, Nicholas J.        Employee    $40,000.00   Per Annum   WRITER FOR CORRESPONDENCE                                          

Clifton, Patrick A.         Employee   $115,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT FOR OPERATIONS           

Cohn, Gary D.               Employee    $30,000.00   Per Annum   ASSISTANT TO THE PRESIDENT AND DIRECTOR OF THE NATIONAL ECONOMIC COUNCIL            

Coia, Giovanna T.           Employee    $47,000.00   Per Annum   PRESS ASSISTANT                                             

Coldiron, Marc W.           Employee    $62,000.00   Per Annum   DEPUTY ASSOCIATE DIRECTOR                                   

Conant, Ann M.              Employee    $47,000.00   Per Annum   EXECUTIVE ASSISTANT                                         

Coniglio, Peter J.          Detailee   $161,900.00   Per Annum   ASSOCIATE COUNSEL TO THE PRESIDENT

Conklin, Hayley C.          Employee    $56,000.00   Per Annum   OPERATIONS MANAGER             

Conway, Kellyanne E.        Employee   $179,700.00   Per Annum   ASSISTANT TO THE PRESIDENT AND SENIOR COUNSELOR             

Cordish, Reed S.            Employee         $0.00   Per Annum   ASSISTANT TO THE PRESIDENT FOR INTERGOVERNMENTAL AND TECHNOLOGY INITIATIVES

Curry, Catherine E.         Employee    $77,000.00   Per Annum   EXECUTIVE ASSISTANT                                         

Cypher, Catharine D.        Employee    $62,000.00   Per Annum   SPECIAL ASSISTANT                                           

Czajkowski, Daniel V.       Employee    $51,000.00   Per Annum   LEGAL ASSISTANT                                             

Dansky Bari, Dominique A.   Employee    $92,000.00   Per Annum   DIRECTOR OF STENOGRAPHY                              

D'Antuono, Hayley L.        Employee    $56,000.00   Per Annum   SCHEDULER AND TRIP COORDINATOR        

Da Pieve, Lucas E.          Employee    $51,000.00   Per Annum   DIRECTOR OF DIGITAL RESPONSE FOR CORRESPONDENCE                            

D'Arcangelo, Nicole M.      Employee    $47,576.00   Per Annum   INFORMATION SERVICES OPERATOR                               

David, Blandon J.           Employee    $56,000.00   Per Annum   STAFF ASSISTANT                                             

Davis, Sylvia M.            Employee    $70,000.00   Per Annum   ASSISTANT STAFF SECRETARY                                   

Dearborn, Ricky A.          Employee   $179,700.00   Per Annum   ASSISTANT TO THE PRESIDENT AND DEPUTY CHIEF OF STAFF FOR LEGISLATIVE, CABINET, INTERGOVERNMENTAL AFFAIRS AND IMPLEMENTATION

DeGuzman, Brian K.          Employee    $67,334.00   Per Annum   DIRECTOR OF THE WHITE HOUSE SWITCHBOARD                     

DeGuzman, Jr., Danilo       Employee    $82,027.00   Per Annum   PRESIDENTIAL SUPPORT SPECIALIST                             

Delahoyde, Magdelana A.     Employee    $70,000.00   Per Annum   EXECUTIVE ASSISTANT                                         

Delaplane, Blake W.         Employee    $56,000.00   Per Annum   SPECIAL ASSISTANT        



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                                          ANNUAL REPORT TO CONGRESS ON WHITE HOUSE OFFICE PERSONNEL
                                                              WHITE HOUSE OFFICE
                                                            As of: Friday, June 30, 2017

NAME                      STATUS      SALARY       PAY BASIS                                                                  POSITION TITLE
Delrahim, Makan           Employee   $165,000.00   Per Annum   DEPUTY ASSISTANT TO THE PRESIDENT AND DEPUTY COUNSEL TO THE PRESIDENT

DeStefano, John J.        Employee   $179,700.00   Per Annum   ASSISTANT TO THE PRESIDENT AND DIRECTOR OF PRESIDENTIAL PERSONNEL

Dhillon, Uttam A.         Employee   $140,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT AND DEPUTY COUNSEL TO THE PRESIDENT

Diaz‐Rosillo, Carlos E.   Employee   $165,000.00   Per Annum   DEPUTY ASSISTANT TO THE PRESIDENT AND DIRECTOR OF POLICY AND INTERAGENCY COORDINATION 

Ditto, Jessica E.         Employee   $155,000.00   Per Annum   DEPUTY ASSISTANT TO THE PRESIDENT AND DEPUTY DIRECTOR OF COMMUNICATIONS       

Dolan, Anthony R.         Employee   $115,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT AND ADVISOR FOR PLANNING   

Donaldson, Ann M.         Employee   $155,000.00   Per Annum   DEPUTY ASSISTANT TO THE PRESIDENT AND SPECIAL COUNSEL TO THE PRESIDENT AND CHIEF OF STAFF TO THE WHITE HOUSE COUNSEL

Doocey, Sean E.           Employee   $115,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT AND DEPUTY DIRECTOR OF PRESIDENTIAL PERSONNEL

Dorr, Kaelan K.           Employee    $70,000.00   Per Annum   DIRECTOR OF CONGRESSIONAL COMMUNICATIONS                    

Doty, III, George E.      Employee   $119,000.00   Per Annum   ASSOCIATE COUNSEL TO THE PRESIDENT

Droege, Philip C.         Employee   $153,730.00   Per Annum   DIRECTOR OF RECORDS MANAGEMENT                              

Duke, Hannah A.           Employee    $62,000.00   Per Annum   DEPUTY ASSOCIATE DIRECTOR                                   

Dumbauld, Cassidy M.      Employee    $77,000.00   Per Annum   PROJECT MANAGER                                             

Eason, William J.         Employee    $77,000.00   Per Annum   LEAD PRESS REPRESENTATIVE                                   

Edmonds, Anita J.         Employee    $66,008.00   Per Annum   ASSISTANT SUPERVISOR FOR CLASSIFICATION                     
                                                               DEPUTY ASSISTANT TO THE PRESIDENT AND DEPUTY COUNSEL TO THE PRESIDENT FOR NATIONAL SECURITY AFFAIRS AND LEGAL ADVISOR TO THE 
Eisenberg, John A.        Employee   $165,000.00   Per Annum
                                                               NATIONAL SECURITY COUNCIL
Eisner‐Poor, Kaitlyn E.   Employee    $77,000.00   Per Annum   EXECUTIVE ASSISTANT                                         
                                                               DEPUTY ASSISTANT TO THE PRESIDENT AND DEPUTY DIRECTOR OF THE NATIONAL ECONOMIC COUNCIL AND INTERNATIONAL ECONOMIC 
Eissenstat, Everett H.    Employee   $165,000.00   Per Annum
                                                               AFFAIRS
El‐Fakir, Alexander T.    Employee    $42,000.00   Per Annum   RESEARCH ANALYST                                            
                                                               SPECIAL ASSISTANT TO THE PRESIDENT AND SENIOR ASSOCIATE COUNSEL TO THE PRESIDENT AND DEPUTY LEGAL ADVISOR TO THE NATIONAL 
Ellis, Michael J.         Employee   $130,000.00   Per Annum
                                                               SECURITY COUNCIL
Epstein, Daniel Z.        Employee   $119,000.00   Per Annum   ASSOCIATE COUNSEL TO THE PRESIDENT

Espinoza, Jonathan        Employee    $47,000.00   Per Annum   EXECUTIVE ASSISTANT                                         

Fama, Jocelyn M.          Employee    $42,882.00   Per Annum   INFORMATION SERVICES OPERATOR                               

Feinberg, Rebecca P.      Employee    $62,000.00   Per Annum   DEPUTY ASSOCIATE DIRECTOR                                   

Ferre, Helen A.           Employee   $115,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT AND DIRECTOR OF MEDIA AFFAIRS             



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                                         ANNUAL REPORT TO CONGRESS ON WHITE HOUSE OFFICE PERSONNEL
                                                             WHITE HOUSE OFFICE
                                                           As of: Friday, June 30, 2017

NAME                     STATUS      SALARY       PAY BASIS                                                                                 POSITION TITLE
Fetalvo, Ninio J.        Employee    $56,000.00   Per Annum   ASSISTANT PRESS SECRETARY                                   

Fields, Austin T.        Employee    $47,000.00   Per Annum   ASSOCIATE DIRECTOR

Finzer, Mary C.          Employee    $56,000.00   Per Annum   STAFF ASSISTANT                                             

Fisher, Mary‐Kathryn     Employee    $77,000.00   Per Annum   DEPUTY DIRECTOR OF ADVANCE FOR THE FIRST LADY               

Flynn, Matthew J.        Employee    $94,000.00   Per Annum   SENIOR DIRECTOR FOR CABINET AFFAIRS                                        

Forrest, Jordan J.       Employee    $62,000.00   Per Annum   SENIOR TRIP COORDINATOR                                     

Fwu, Melissa E.          Employee    $83,000.00   Per Annum   ASSOCIATE DIRECTOR

Gabriel, Robert          Employee    $83,000.00   Per Annum   SPECIAL ASSISTANT                                           

Gallegos, Jonathan S.    Employee    $89,000.00   Per Annum   DIRECTOR OF VIDEO IMAGES                                    

Garcia, Eunice           Employee    $46,088.00   Per Annum   RECORDS MANAGEMENT ANALYST                                  

Gast, Scott F.           Employee   $140,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT AND SENIOR ASSOCIATE COUNSEL TO THE PRESIDENT

Georges, Eliza B.        Employee    $47,000.00   Per Annum   EXECUTIVE ASSISTANT                                         

Gigicos, George D.       Employee   $165,000.00   Per Annum   DEPUTY ASSISTANT TO THE PRESIDENT AND DIRECTOR OF PRESIDENTIAL ADVANCE

Giuliani, Andrew H.      Employee    $77,000.00   Per Annum   ASSOCIATE DIRECTOR                                          

Goad, Robert T.          Detailee    $79,720.00   Per Annum   EDUCATION ADVISOR

Gorka, Sebastian L.      Employee   $155,000.00   Per Annum   DEPUTY ASSISTANT TO THE PRESIDENT AND STRATEGIST                      

Goyer, IV, James L.      Employee    $51,000.00   Per Annum   LEGISLATIVE ASSISTANT                                       

Grant, Darby W.          Employee    $62,000.00   Per Annum   DIRECTOR OF PRESIDENTIAL GIFTS                              

Gray, Alexander B.       Employee   $115,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT AND DEPUTY DIRECTOR OF TRADE AND MANUFACTURING POLICY

Greenblatt, Jason D.     Employee   $179,700.00   Per Annum   ASSISTANT TO THE PRESIDENT AND SPECIAL REPRESENTATIVE FOR INTERNATIONAL NEGOTIATIONS        

Greenstein, Ira A.       Employee   $155,000.00   Per Annum   DEPUTY ASSISTANT TO THE PRESIDENT AND STRATEGIST                      

Gribbin, IV, David J.    Employee   $115,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT FOR ECONOMIC POLICY      

Grieco, Christopher K.   Employee   $119,000.00   Per Annum   ASSOCIATE COUNSEL TO THE PRESIDENT        

Grisham, Stephanie A.    Employee   $115,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT AND DIRECTOR OF COMMUNICATIONS FOR THE FIRST LADY

Griswold, Julia C.       Employee    $56,000.00   Per Annum   EXECUTIVE ASSISTANT                                         



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                                                              WHITE HOUSE OFFICE
                                                            As of: Friday, June 30, 2017

NAME                      STATUS      SALARY       PAY BASIS                                                                                 POSITION TITLE
Gross, Mackenzie A.       Employee    $77,000.00   Per Annum   ASSOCIATE DIRECTOR                                          

Gunn, Ashley L.           Employee    $94,000.00   Per Annum   SENIOR DIRECTOR FOR CABINET AFFAIRS                                        

Hagin, Joseph W.          Employee   $179,700.00   Per Annum   ASSISTANT TO THE PRESIDENT AND DEPUTY CHIEF OF STAFF FOR OPERATIONS  

Hahn, Julia A.            Employee   $115,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT AND DEPUTY STRATEGIST                

Haidet, Michael B.        Employee    $94,000.00   Per Annum   DIRECTOR OF WHITE HOUSE TRAVEL OFFICE                       

Haley, Vincent M.         Employee   $140,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT AND ADVISOR FOR STRATEGY AND SPEECHWRITING 

Haltom, Bronwyn A.        Employee    $89,000.00   Per Annum   REGIONAL DIRECTOR                                           

Harkins, Michael W.       Detailee   $158,123.00   Per Annum   SENIOR POLICY ANALYST

Harrison, William B.      Employee    $56,000.00   Per Annum   TRIP COORDINATOR                                            

Heilig, Rebecca B.        Employee    $89,000.00   Per Annum   ASSOCIATE DIRECTOR                                          

Hemming, Andrew J.        Employee    $89,000.00   Per Annum   ASSOCIATE DIRECTOR                                          

Henderson, Katherine C.   Employee   $115,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT AND ASSOCIATE DIRECTOR OF PRESIDENTIAL PERSONNEL       

Hennessey, Millicent S.   Employee    $40,000.00   Per Annum   STAFF ASSISTANT                                             

Henning, Katherine A.     Employee    $70,000.00   Per Annum   DIRECTOR OF BROADCAST MEDIA                                 

Henrichs, Joy E.          Employee    $56,000.00   Per Annum   OPERATIONS MANAGER              

Henry, John R.            Employee    $62,000.00   Per Annum   DIRECTOR OF AGENCY LIAISON FOR CORRESPONDENCE                                  

Henson, Clayton T.        Employee    $89,000.00   Per Annum   REGIONAL DIRECTOR                                           

Hicks, Catherine F.       Employee    $47,000.00   Per Annum   PRESS ASSISTANT                                             

Hicks, Hope C.            Employee   $179,700.00   Per Annum   ASSISTANT TO THE PRESIDENT AND DIRECTOR OF STRATEGIC COMMUNICATIONS

Hoang, Vy T.              Employee    $62,082.00   Per Annum   RECORDS MANAGEMENT ANALYST                                  

Hoelscher, Douglas L.     Employee   $115,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT AND DEPUTY DIRECTOR OF INTERGOVERNMENTAL AFFAIRS       

Holley, Michael Q.        Employee    $62,000.00   Per Annum   SPECIAL PROJECTS MANAGER

Horning, Daniel M.        Employee    $40,000.00   Per Annum   ASSOCIATE DIRECTOR                    

Horton, Michael J.        Employee    $44,941.00   Per Annum   INFORMATION SERVICES OPERATOR                               

House, Mark S.            Detailee   $187,100.00   Per Annum   SENIOR POLICY ADVISOR



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                                                              WHITE HOUSE OFFICE
                                                            As of: Friday, June 30, 2017

NAME                      STATUS      SALARY       PAY BASIS                                                                  POSITION TITLE
Howard, Benjamin R.       Employee   $115,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT FOR LEGISLATIVE AFFAIRS  

Hudson, Hope R.           Employee   $155,000.00   Per Annum   DEPUTY ASSISTANT TO THE PRESIDENT AND CHIEF OF STAFF TO THE SENIOR COUNSELOR

Hulse, Elliott Y.         Employee    $51,000.00   Per Annum   ASSOCIATE DIRECTOR                                          

Hunter, Mallory G.        Employee    $95,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT AND EXECUTIVE ASSISTANT TO THE CHIEF OF STAFF 

Hurley, Carolina L.       Employee    $56,000.00   Per Annum   DIRECTOR OF REGIONAL MEDIA                                  

Hyde, Montana L.          Employee    $47,000.00   Per Annum   DIRECTOR OF STUDENT AND CHILDREN'S CORRESPONDENCE

Ilagan, Kelly A.          Employee    $62,000.00   Per Annum   DEPUTY ASSOCIATE DIRECTOR                                   

Jack, Brian T.            Employee   $115,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT AND DEPUTY DIRECTOR OF POLITICAL AFFAIRS     

Jackman, Zoe L.           Employee    $89,000.00   Per Annum   DIRECTOR OF WHITE HOUSE INTERNSHIP PROGRAM AND VOLUNTEERS            

Jackson, Theresa R.       Employee    $70,629.00   Per Annum   INFORMATION SERVICES OPERATOR                               

Jarmula, Ryan L.          Employee    $95,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT AND ADVISOR FOR DEVELOPMENT AND SPEECHWRITING

Joannou, Thomas W.        Employee    $40,000.00   Per Annum   PERSONAL AIDE                                               

Johnson, Julia B.         Employee    $47,000.00   Per Annum   EXECUTIVE ASSISTANT                                         

Johnson, Linda M.         Employee    $74,666.00   Per Annum   INFORMATION SERVICES OPERATOR                               

Jones, Crystal B.         Employee    $98,323.00   Per Annum   ASSISTANT SUPERVISOR FOR DOCUMENT MANAGEMENT AND TRACKING UNIT   

Jones, Sidney L.          Employee    $47,576.00   Per Annum   INFORMATION SERVICES OPERATOR                               

Jones, Takesha R.         Employee    $54,338.00   Per Annum   INFORMATION SERVICES OPERATOR                               

Kalbaugh, David E.        Employee   $153,730.00   Per Annum   EXECUTIVE CLERK                                             

Karem, Michael J.         Employee   $115,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT AND DEPUTY DIRECTOR OF PRESIDENTIAL ADVANCE

Karnes, Katlyn L.         Employee    $89,000.00   Per Annum   DIRECTOR OF DIGITAL OPERATIONS                              

Katsas, Gregory G.        Employee   $165,000.00   Per Annum   DEPUTY ASSISTANT TO THE PRESIDENT AND DEPUTY COUNSEL TO THE PRESIDENT

Katz, Jeremy L.           Employee   $165,000.00   Per Annum   DEPUTY ASSISTANT TO THE PRESIDENT AND DEPUTY DIRECTOR OF THE NATIONAL ECONOMIC COUNCIL AND ECONOMIC POLICY

Keel, Benjamin N.         Detailee    $94,796.00   Per Annum   EXECUTIVE DIRECTOR FOR WHITE HOUSE COUNCIL ON NATIVE AMERICAN AFFAIRS

Kellogg, Jr., Joseph K.   Employee   $179,700.00   Per Annum   ASSISTANT TO THE PRESIDENT AND EXECUTIVE SECRETARY AND CHIEF OF STAFF FOR THE NATIONAL SECURITY COUNCIL   
                                                               DEPUTY ASSISTANT TO THE PRESIDENT AND DIRECTOR OF WHITE HOUSE MANAGEMENT AND ADMINISTRATION AND DIRECTOR OF THE OFFICE 
Kelly, Marcia L.          Employee   $165,000.00   Per Annum
                                                               OF ADMINISTRATION



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                                                      EXECUTIVE OFFICE OF THE PRESIDENT
                                          ANNUAL REPORT TO CONGRESS ON WHITE HOUSE OFFICE PERSONNEL
                                                              WHITE HOUSE OFFICE
                                                            As of: Friday, June 30, 2017

NAME                      STATUS      SALARY       PAY BASIS                                                                     POSITION TITLE
Kelly, Nijah C.           Employee    $49,061.00   Per Annum   INFORMATION SERVICES OPERATOR                               

Kennedy, Adam R.          Employee    $77,000.00   Per Annum   DEPUTY DIRECTOR OF RESEARCH                                 

King, Taeshonnda C.       Employee    $69,100.00   Per Annum   RECORDS MANAGEMENT ANALYST                                  

Kirkland, William H.      Employee   $115,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT AND DEPUTY DIRECTOR OF INTERGOVERNMENTAL AFFAIRS         

Klingler, McLaurine E.    Employee    $47,000.00   Per Annum   EXECUTIVE ASSISTANT                                         

Knight, Shahira E.        Employee   $140,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT FOR ECONOMIC POLICY      

Koenig, Andrew D.         Employee   $130,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT FOR LEGISLATIVE AFFAIRS  

Koh, Grace E.             Employee   $115,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT FOR ECONOMIC POLICY      

Korn, Jennifer S.         Employee   $140,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT AND DEPUTY DIRECTOR OF THE OFFICE OF PUBLIC LIAISON  

Kunkel, Matthew R.        Detailee   $131,767.00   Per Annum   DIRECTOR OF SPECIAL PROJECTS FOR CABINET AFFAIRS

Kushner, Jared C.         Employee         $0.00   Per Annum   ASSISTANT TO THE PRESIDENT AND SENIOR ADVISOR  

Lai, Joseph G.            Employee   $115,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT FOR LEGISLATIVE AFFAIRS  

Larimer, Becky S.         Employee    $70,100.00   Per Annum   CALLIGRAPHER                                                

Lartey, Solomon D.        Employee    $65,969.00   Per Annum   RECORDS MANAGEMENT ANALYST                                  

Lataif, Emily P.          Employee    $40,000.00   Per Annum   EXECUTIVE ASSISTANT                                         

Latcham, Alexander S.     Employee    $89,000.00   Per Annum   REGIONAL DIRECTOR                                           

LaVerghetta, Dino L.      Detailee   $161,900.00   Per Annum   ASSOCIATE COUNSEL TO THE PRESIDENT

Law, Matthew J.           Employee    $84,392.00   Per Annum   SUPERVISOR FOR SEARCH AND FILE SECTION                         

LeHardy, Anne H.          Employee    $47,000.00   Per Annum   PRESS ASSISTANT                                             

Leighton, Rosalyn A.      Employee    $89,000.00   Per Annum   REGIONAL DIRECTOR                                           

Levell, Leah V.           Employee    $47,000.00   Per Annum   COMMUNICATIONS COORDINATOR                                  

Liddell, Christopher P.   Employee    $30,000.00   Per Annum   ASSISTANT TO THE PRESIDENT FOR STRATEGIC INITIATIVES        

Lira, Mathew L.           Employee   $115,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT FOR INNOVATION POLICY AND INITIATIVES 

Locetta, Jennifer R.      Employee   $115,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT AND ASSOCIATE DIRECTOR OF PRESIDENTIAL PERSONNEL       

Love, Kelly A.            Employee    $83,000.00   Per Annum   SENIOR PRESS ASSISTANT                                      



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                                          ANNUAL REPORT TO CONGRESS ON WHITE HOUSE OFFICE PERSONNEL
                                                              WHITE HOUSE OFFICE
                                                            As of: Friday, June 30, 2017

NAME                     STATUS       SALARY       PAY BASIS                                                                  POSITION TITLE
Luna, Nicholas F.        Employee     $83,000.00   Per Annum   LEAD ADVANCE REPRESENTATIVE                                 

Luther, Robert           Employee    $119,000.00   Per Annum   ASSOCIATE COUNSEL TO THE PRESIDENT   

Lyons, Derek S.          Employee    $165,000.00   Per Annum   DEPUTY ASSISTANT TO THE PRESIDENT AND DEPUTY STAFF SECRETARY  

Mabry, Sandra S.         Detailee    $161,900.00   Per Annum   ETHICS COUNSEL

MacDonnell, Patrick P.   Employee     $40,000.00   Per Annum   RESEARCH ASSISTANT AND EXECUTIVE ASSISTANT                  

MacInnis, Hannah F.      Employee     $47,000.00   Per Annum   PRODUCTION ASSISTANT                                        

Maguire, Victoria J.     Employee    $115,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT AND DIRECTOR OF WHITE HOUSE EVENTS AND PRESIDENTIAL SCHEDULING

Magyarits, Caroline S.   Employee     $62,000.00   Per Annum   DIRECTOR OF RADIO MEDIA                                     

Mahfouz, Michael D.      Employee     $47,000.00   Per Annum   STAFF ASSISTANT                                             

Manigault, Omarosa O.    Employee    $179,700.00   Per Annum   ASSISTANT TO THE PRESIDENT AND DIRECTOR OF COMMUNICATIONS FOR THE OFFICE OF PUBLIC LIAISON  

Marquis, Ashley H.       Employee    $115,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT AND CHIEF OF STAFF OF THE NATIONAL ECONOMIC COUNCIL AND ECONOMIC POLICY       

Marshall, Kirk R.        Employee    $140,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT AND DIRECTOR OF ORGANIZATIONAL STRUCTURE AND HUMAN CAPITAL

Marshall, Michael J.     Employee     $94,000.00   Per Annum   DEPUTY DIRECTOR OF CORRESPONDENCE AND DIRECTOR OF WRITERS   

Mashburn, John K.        Employee    $130,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT AND DEPUTY CABINET SECRETARY       

Matich, Nicholas T.      Employee    $115,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT AND ASSOCIATE STAFF SECRETARY      

Mattson, Philip C.       Employee     $69,634.00   Per Annum   DIRECTOR OF MAIL ANALYSIS                                   

Maxwell, Kyle D.         Employee     $77,000.00   Per Annum   DEPUTY DIRECTOR OF SCHEDULING                               

McAvoy, Ryan P.          Employee     $47,000.00   Per Annum   STAFF ASSISTANT                                             

McCann, Meghan B.        Employee     $56,000.00   Per Annum   WEST WING RECEPTIONIST                                      

McCathran, William W.    Employee    $116,914.00   Per Annum   ASSISTANT EXECUTIVE CLERK                                   

McCommas, Stuart S.      Employee    $119,000.00   Per Annum   DEPUTY ASSOCIATE COUNSEL TO THE PRESIDENT

McCormick, Michael J.    Employee     $78,470.00   Per Annum   DEPUTY DIRECTOR OF STENOGRAPHY                              

McDonald, Michael P.     Employee     $62,000.00   Per Annum   DEPUTY ASSOCIATE DIRECTOR                                   

McEntee, II, John D.     Employee    $115,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT AND PERSONAL AIDE TO THE PRESIDENT 

McFarland, Kathleen T.   Employee    $179,700.00   Per Annum   ASSISTANT TO THE PRESIDENT AND DEPUTY NATIONAL SECURITY ADVISOR



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                                                       EXECUTIVE OFFICE OF THE PRESIDENT
                                           ANNUAL REPORT TO CONGRESS ON WHITE HOUSE OFFICE PERSONNEL
                                                               WHITE HOUSE OFFICE
                                                             As of: Friday, June 30, 2017

NAME                      STATUS       SALARY       PAY BASIS                                                                           POSITION TITLE
McGahn, II, Donald F.     Employee    $179,700.00   Per Annum   ASSISTANT TO THE PRESIDENT AND COUNSEL TO THE PRESIDENT     

McGinley, Michael H.      Employee    $119,000.00   Per Annum   ASSOCIATE COUNSEL TO THE PRESIDENT 

McGinley, William J.      Employee    $165,000.00   Per Annum   DEPUTY ASSISTANT TO THE PRESIDENT AND CABINET SECRETARY       

McKee, Kara L.            Employee     $77,000.00   Per Annum   EDUCATION, WOMEN AND FAMILIES, AND WORKFORCE POLICY ADVISOR         

Meadows, Elizabeth M.     Employee    $115,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT AND DEPUTY DIRECTOR FOR PRESS ADVANCE   

Mew, Erin C.              Employee     $56,000.00   Per Annum   OPERATIONS MANAGER            

Meyer, Joyce Y.           Employee    $155,000.00   Per Annum   DEPUTY ASSISTANT TO THE PRESIDENT FOR LEGISLATIVE AFFAIRS AND HOUSE DEPUTY DIRECTOR 

Michael, Molly A.         Employee     $56,000.00   Per Annum   ASSOCIATE DIRECTOR                                          

Midanek, Thomas H.        Employee     $89,000.00   Per Annum   REGIONAL DIRECTOR                                           

Miller, Benjamin T.       Employee     $83,000.00   Per Annum   LEAD ADVANCE REPRESENTATIVE                                 

Miller, Max L.            Employee     $83,000.00   Per Annum   LEAD ADVANCE REPRESENTATIVE                                 

Miller, Stephen           Employee    $179,700.00   Per Annum   ASSISTANT TO THE PRESIDENT AND SENIOR ADVISOR FOR POLICY      

Millison, Chad L.         Employee     $77,593.00   Per Annum   ASSISTANT SUPERVISOR FOR SEARCH AND FILE                  

Miraaj‐Raza, Sidrah       Employee     $47,576.00   Per Annum   INFORMATION SERVICES OPERATOR                               

Mitchelson, William J.    Employee     $47,000.00   Per Annum   STAFF ASSISTANT                                             

Mocarski, Ashley D.       Employee     $47,000.00   Per Annum   PRESS ASSISTANT                                             

Montesi, Janet M.         Employee     $47,000.00   Per Annum   EXECUTIVE ASSISTANT                                         

Moorhead, Jacqueline U.   Employee     $62,000.00   Per Annum   RESEARCH ANALYST AND EXECUTIVE ASSISTANT                    

Moorhead, Mari K.         Detailee     $66,510.00   Per Annum   ASSISTANT TO THE OFFICE OF AMERICAN INNOVATION

Moran, Colleen P.         Employee     $46,088.00   Per Annum   RECORDS MANAGEMENT ANALYST                                  

Moran, John S.            Employee    $119,000.00   Per Annum   ASSOCIATE COUNSEL TO THE PRESIDENT                

Morgen, Hunter M.         Detailee     $54,972.00   Per Annum   DEPUTY DIRECTOR FOR BUY AMERICAN/HIRE AMERICAN

Morrall, Kimberly E.      Employee     $62,000.00   Per Annum   SENIOR DIRECTOR OF SCHEDULING                                        

Morrell, David M.         Employee    $119,000.00   Per Annum   ASSOCIATE COUNSEL TO THE PRESIDENT

Morrone, Vanessa M.       Employee     $62,000.00   Per Annum   ADVISOR TO THE PRESS SECRETARY                              



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                                         ANNUAL REPORT TO CONGRESS ON WHITE HOUSE OFFICE PERSONNEL
                                                             WHITE HOUSE OFFICE
                                                           As of: Friday, June 30, 2017

NAME                    STATUS       SALARY       PAY BASIS                                                                                POSITION TITLE
Mullen, Courtney E.     Employee     $94,000.00   Per Annum   SPECIAL ASSISTANT

Munisteri, Stephen P.   Employee    $165,000.00   Per Annum   DEPUTY ASSISTANT TO THE PRESIDENT AND PRINCIPAL DEPUTY DIRECTOR OF THE OFFICE OF PUBLIC LIAISON 

Munro, Marea L.         Employee     $46,088.00   Per Annum   RECORDS MANAGEMENT ANALYST                                  

Murphy, Christine M.    Employee     $47,000.00   Per Annum   EXECUTIVE ASSISTANT                                         

Murray, Claire M.       Employee    $119,000.00   Per Annum   ASSOCIATE COUNSEL TO THE PRESIDENT      

Nasim, Laura F.         Employee     $77,000.00   Per Annum   EXECUTIVE ASSISTANT                                         

Navarro, Peter K.       Employee    $165,000.00   Per Annum   DEPUTY ASSISTANT TO THE PRESIDENT AND DIRECTOR OF TRADE AND MANUFACTURING POLICY

Neiman, Wanda M.        Employee     $90,350.00   Per Annum   ASSISTANT TO THE EXECUTIVE CLERK                            

Niceta, Anna C.         Employee    $115,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT AND SOCIAL SECRETARY       

Oberg, Elizabeth A.     Employee     $51,000.00   Per Annum   ASSOCIATE DIRECTOR                                          

O'Connell, James M.     Employee     $89,000.00   Per Annum   REGIONAL DIRECTOR                                           

Olmem, Andrew J.        Employee    $115,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT FOR ECONOMIC POLICY      

Paranzino, Anthony M.   Detailee     $66,510.00   Per Annum   DIRECTOR OF AGENCY OUTREACH FOR CABINET AFFAIRS

Parkinson, Andrew Z.    Employee     $56,000.00   Per Annum   ASSOCIATE DIRECTOR                                          

Passantino, Stefan C.   Employee    $165,000.00   Per Annum   DEPUTY ASSISTANT TO THE PRESIDENT AND DEPUTY COUNSEL TO THE PRESIDENT

Pataki, Timothy A.      Employee    $115,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT FOR LEGISLATIVE AFFAIRS  

Pate, Brian  E.         Employee     $81,680.00   Per Annum   ASSISTANT TO THE EXECUTIVE CLERK FOR LEGISLATION            

Pedersen, Brittany N.   Employee     $47,000.00   Per Annum   STAFF ASSISTANT                                             

Poese, Caroline S.      Employee     $49,394.00   Per Annum   RECORDS MANAGEMENT ANALYST                                  

Porter, Madison F.      Employee     $56,000.00   Per Annum   SENIOR WRITER FOR CORRESPONDENCE                                          

Porter, Robert R.       Employee    $179,700.00   Per Annum   ASSISTANT TO THE PRESIDENT AND WHITE HOUSE STAFF SECRETARY    

Potter, Caroline J.     Employee     $56,000.00   Per Annum   OPERATIONS MANAGER            

Powell, Dina H.         Employee    $179,700.00   Per Annum   ASSISTANT TO THE PRESIDENT AND DEPUTY NATIONAL SECURITY ADVISOR FOR STRATEGY

Powers, Megan K.        Employee     $77,000.00   Per Annum   LEAD PRESS REPRESENTATIVE                                   

Priebus, Reinhold R.    Employee    $179,700.00   Per Annum   ASSISTANT TO THE PRESIDENT AND CHIEF OF STAFF               



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                                         ANNUAL REPORT TO CONGRESS ON WHITE HOUSE OFFICE PERSONNEL
                                                             WHITE HOUSE OFFICE
                                                           As of: Friday, June 30, 2017

NAME                    STATUS       SALARY       PAY BASIS                                                                  POSITION TITLE
Pritchard, Bethany L.   Employee     $51,000.00   Per Annum   TRAVEL MANAGER         

Pursley, Alexa R.       Employee     $62,000.00   Per Annum   DEPUTY ASSOCIATE DIRECTOR                                   

Quebral, Dianne K.      Employee    $130,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT AND DEPUTY DIRECTOR OF THE OFFICE OF PUBLIC LIAISON 

Rabbitt, Brian C.       Employee    $119,000.00   Per Annum   ASSOCIATE COUNSEL TO THE PRESIDENT

Radano, Margaux M.      Employee    $115,000.00   Per Annum   SPECIAL ASSISTANT TO PRESIDENT AND ASSOCIATE DIRECTOR OF PRESIDENTIAL PERSONNEL

Radford, Julie T.       Employee    $140,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT AND CHIEF OF STAFF FOR ECONOMIC INITIATIVES 

Raffel, Joshua H.       Employee    $155,000.00   Per Annum   DEPUTY ASSISTANT TO THE PRESIDENT AND COMMUNICATIONS ADVISOR          

Rafi, Hina A.           Employee     $52,035.00   Per Annum   DEPUTY DIRECTOR FOR INFORMATION SERVICES                    

Raizk, Paul S.          Employee    $133,410.00   Per Annum   DEPUTY DIRECTOR AND SENIOR ADVISOR FOR RECORDS MANAGEMENT   

Rateike, Bradley A.     Employee     $94,000.00   Per Annum   DIRECTOR OF CABINET COMMUNICATIONS                          

Redle, Alexander J.     Employee     $47,000.00   Per Annum   STAFF ASSISTANT                                             

Reese, Christopher M.   Employee     $62,000.00   Per Annum   STAFF ASSISTANT                                             

Reynolds, Lindsay B.    Employee    $179,700.00   Per Annum   ASSISTANT TO THE PRESIDENT AND CHIEF OF STAFF TO THE FIRST LADY  

Riddaugh, Andrew M.     Employee     $51,000.00   Per Annum   TRAVEL MANAGER             

Ridgway, Mariel H.      Employee     $42,882.00   Per Annum   ASSISTANT TO THE EXECUTIVE CLERK                            

Rinat, Ory S.           Detailee    $161,900.00   Per Annum   INTERIM CHIEF DIGITAL OFFICER

Rizk, Danielle C.       Employee     $42,882.00   Per Annum   RECORDS MANAGEMENT ANALYST                                  

Roddick, Gertrude A.    Employee    $100,981.00   Per Annum   PRESIDENTIAL SUPPORT SPECIALIST                             

Roman, Michael A.       Employee    $115,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT AND DIRECTOR OF SPECIAL PROJECTS AND RESEARCH        

Roscoe, John M.         Employee    $115,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT AND ASSOCIATE DIRECTOR OF PRESIDENTIAL PERSONNEL       

Ross, Tyler E.          Employee     $51,000.00   Per Annum   DIRECTOR OF SPECIALTY MEDIA                                 

Royer, Theodore M.      Employee     $95,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT AND SPEECHWRITER         

Saady, Elizabeth A.     Employee     $47,000.00   Per Annum   SCHEDULER                                                   

Sadler, Kelly J.        Employee    $115,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT AND DIRECTOR OF MESSAGE STRATEGY

Salem, Hannah H.        Employee     $83,000.00   Per Annum   SENIOR LEAD PRESS REPRESENTATIVE                            



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                                             ANNUAL REPORT TO CONGRESS ON WHITE HOUSE OFFICE PERSONNEL
                                                                 WHITE HOUSE OFFICE
                                                               As of: Friday, June 30, 2017

NAME                        STATUS       SALARY       PAY BASIS                                                                  POSITION TITLE
Saltaformaggio, Robert L.   Detailee     $97,956.00   Per Annum   ETHICS COUNSEL

Salvi, Mary E.              Employee     $47,000.00   Per Annum   EXECUTIVE ASSISTANT                                         

Samuels, Jr., Wendell A.    Employee     $82,377.00   Per Annum   RECORDS MANAGEMENT INFORMATION SYSTEMS SPECIALIST           

Sanders, Sarah H.           Employee    $165,000.00   Per Annum   DEPUTY ASSISTANT TO THE PRESIDENT AND PRINCIPAL DEPUTY PRESS SECRETARY   

Sands, Amy P.               Employee     $66,500.00   Per Annum   STENOGRAPHER                                                

Sass, Joan C.               Employee     $65,969.00   Per Annum   INFORMATION SERVICES OPERATOR                               

Saunders, Matthew L.        Employee     $56,000.00   Per Annum   SPECIAL ASSISTANT                                           

Sayle, Desiree T.           Employee    $115,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT AND DIRECTOR OF CORRESPONDENCE       

Scarlett, Brian L.          Employee     $62,000.00   Per Annum   DEPUTY ASSOCIATE DIRECTOR                                   

Scavino, Daniel J.          Employee    $179,700.00   Per Annum   ASSISTANT TO THE PRESIDENT AND DIRECTOR OF SOCIAL MEDIA       

Schaffer, Ari B.            Employee     $42,000.00   Per Annum   RESEARCH ANALYST                                            

Schechter, Cecilia S.       Employee     $77,000.00   Per Annum   SPECIAL ASSISTANT                                           

Schiller, Keith W.          Employee    $165,000.00   Per Annum   DEPUTY ASSISTANT TO THE PRESIDENT AND DIRECTOR OF OVAL OFFICE OPERATIONS     

Schneider, Vanessa M.       Employee     $77,000.00   Per Annum   DEPUTY SOCIAL SECRETARY                                     

Schouten, Schuyler J.       Employee    $130,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT AND ASSOCIATE COUNSEL TO THE PRESIDENT

Schultz, James D.           Employee    $140,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT AND SENIOR ASSOCIATE COUNSEL TO THE PRESIDENT

Scully, Bethany S.          Employee    $115,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT FOR LEGISLATIVE AFFAIRS  

Sewell, John B.             Employee     $42,000.00   Per Annum   STAFF ASSISTANT                                             

Shah, Raj S.                Employee    $155,000.00   Per Annum   DEPUTY ASSISTANT TO THE PRESIDENT AND DEPUTY DIRECTOR OF COMMUNICATIONS AND DIRECTOR OF RESEARCH

Sherk, James B.             Detailee    $136,100.00   Per Annum   LABOR ADVISOR

Shoemaker, Clay M.          Employee     $47,000.00   Per Annum   COMMUNICATIONS ASSISTANT                                    

Short, Marc T.              Employee    $179,700.00   Per Annum   ASSISTANT TO THE PRESIDENT AND DIRECTOR OF THE OFFICE OF LEGISLATIVE AFFAIRS

Short, Michael C.           Employee     $83,000.00   Per Annum   SENIOR PRESS ASSISTANT                                      

Sifakis, George A.          Employee    $179,700.00   Per Annum   ASSISTANT TO THE PRESIDENT AND DIRECTOR OF THE OFFICE OF PUBLIC LIAISON

Simms, Cynthia B.           Employee    $115,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT FOR LEGISLATIVE AFFAIRS  



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                                                     EXECUTIVE OFFICE OF THE PRESIDENT
                                         ANNUAL REPORT TO CONGRESS ON WHITE HOUSE OFFICE PERSONNEL
                                                             WHITE HOUSE OFFICE
                                                           As of: Friday, June 30, 2017

NAME                    STATUS       SALARY       PAY BASIS                                                                    POSITION TITLE
Simms, Michelle C.      Detailee    $158,123.00   Per Annum   ETHICS COUNSEL

Sims, Clifton D.        Employee    $115,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT AND ASSISTANT COMMUNICATIONS DIRECTOR   

Slate, Taylor M.        Employee     $62,000.00   Per Annum   DEPUTY ASSOCIATE DIRECTOR                                   

Smith, Cooper J.        Employee     $62,000.00   Per Annum   DEPUTY ASSOCIATE DIRECTOR                                   

Smith, Ja'Ron K.        Employee     $83,000.00   Per Annum   URBAN AFFAIRS AND REVITALIZATION POLICY ADVISOR                    

Smith, Lara M.          Employee     $77,000.00   Per Annum   EXECUTIVE ASSISTANT                                         

Spicer, Sean M.         Employee    $179,700.00   Per Annum   ASSISTANT TO THE PRESIDENT AND PRESS SECRETARY              

Stell, Melinda K.       Employee    $115,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT AND DIRECTOR OF WHITE HOUSE PERSONNEL       

Stepien, William        Employee    $165,000.00   Per Annum   DEPUTY ASSISTANT TO THE PRESIDENT AND DIRECTOR OF POLITICAL AFFAIRS   

Stokes, Caroline M.     Employee     $77,000.00   Per Annum   ASSOCIATE DIRECTOR                                          

Stone, Alexandra E.     Employee     $56,000.00   Per Annum   FINANCE AND LOGISTICS OFFICER

Strom, Natalie M.       Employee     $56,000.00   Per Annum   ASSISTANT PRESS SECRETARY AND SENIOR WRITER                   

Surabian, Andrew J.     Employee    $115,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT AND DEPUTY STRATEGIST                

Sutton, Abraham J.      Employee     $77,000.00   Per Annum   ASSOCIATE DIRECTOR                                          

Swonger, Amy H.         Employee    $155,000.00   Per Annum   DEPUTY ASSISTANT TO THE PRESIDENT FOR LEGISLATIVE AFFAIRS AND SENATE DEPUTY DIRECTOR  

Szabo, Thomas G.        Employee     $51,000.00   Per Annum   STAFF ASSISTANT                                             

Talento, Kathryn F.     Employee    $130,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT FOR HEALTHCARE POLICY    

Tallman, Jonathan T.    Employee     $66,500.00   Per Annum   STENOGRAPHER                                                

Taylor, Mary E.         Employee     $94,000.00   Per Annum   DEPUTY DIRECTOR OF NOMINATIONS                              

Teclu, Segen G.         Employee     $42,882.00   Per Annum   INFORMATION SERVICES OPERATOR                               

Teller, Paul S.         Employee    $140,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT FOR LEGISLATIVE AFFAIRS  

Teresa, Tyler C.        Employee     $47,000.00   Per Annum   STAFF ASSISTANT                                             

Thomas, III, Edwin R.   Employee    $119,489.00   Per Annum   ASSISTANT EXECUTIVE CLERK FOR MESSAGES AND EXECUTIVE ACTIONS

Toner, Jana C.          Detailee    $149,337.00   Per Annum   ASSOCIATE DIRECTOR OF PRESIDENTIAL PERSONNEL

Trainer, Nicholas A.    Employee     $94,000.00   Per Annum   DIRECTOR OF REGIONAL OPERATIONS                             



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                                                                   WHITE HOUSE OFFICE
                                                                 As of: Friday, June 30, 2017

NAME                          STATUS       SALARY       PAY BASIS                                                                          POSITION TITLE
Trainor, Gregory T.           Employee     $76,685.00   Per Annum   DIRECTOR OF SPECIAL PROJECTS FOR CORRESPONDENCE                              

Tripepi, Timothy G.           Employee    $115,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT AND DEPUTY CHIEF OF STAFF OF OPERATIONS FOR THE FIRST LADY

Trump, Ivanka M.              Employee          $0.00   Per Annum   FIRST DAUGHTER AND ADVISOR TO THE PRESIDENT

Tucker, Phyllis J.            Employee    $107,435.00   Per Annum   SUPERVISOR OF COMPUTER ADMINISTRATION FOR RECORDS MANAGEMENT                       

Uli, Gabriella M.             Employee     $47,000.00   Per Annum   EXECUTIVE ASSISTANT                                         

Varghese, Elizabeth J.        Employee     $79,117.00   Per Annum   SUPERVISOR FOR RECORDS MANAGEMENT CLASSIFICATION                               

Veletsis, Alexandra E.        Employee     $47,000.00   Per Annum   STAFF ASSISTANT                                             

Veprek, Andrew M.             Detailee    $127,489.00   Per Annum   IMMIGRATION ADVISOR

Walk, John                    Employee    $119,000.00   Per Annum   ASSOCIATE COUNSEL TO THE PRESIDENT        

Walker, Jr., Christopher A.   Employee     $40,000.00   Per Annum   ASSOCIATE DIRECTOR                                          

Walker, Evan J.               Employee     $77,000.00   Per Annum   SENIOR DIGITAL STRATEGIST                                   

Walsh, Brian K.               Employee     $47,000.00   Per Annum   RESEARCH ASSOCIATE                                          

Walters, Lindsay E.           Employee    $115,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT AND DEPUTY PRESS SECRETARY AND ADVISOR TO THE PRESS SECRETARY 

Wasserstein, Rebecca L.       Employee     $77,000.00   Per Annum   DEPUTY DIRECTOR OF WHITE HOUSE TRAVEL OFFICE                

Weber, Lauren F.              Employee     $56,000.00   Per Annum   STAFF ASSISTANT                                             

Weiser, Benjamin S.           Employee     $47,000.00   Per Annum   EXECUTIVE ASSISTANT                                         

Welden, Anne‐Allen            Employee     $94,000.00   Per Annum   EXECUTIVE ASSISTANT                                         

Westerhout, Madeleine E.      Employee     $95,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT AND EXECUTIVE ASSISTANT TO THE PRESIDENT

Wetmore, David H.             Detailee    $161,900.00   Per Annum   IMMIGRATION ADVISOR

White, Peter J.               Employee     $94,000.00   Per Annum   SENIOR POLICY ANALYST                                       

Wilkins, Catherine E.         Employee     $56,000.00   Per Annum   DIRECTOR OF PERSONAL CORRESPONDENCE

Williams, Sherman A.          Employee     $90,350.00   Per Annum   ASSISTANT TO THE EXECUTIVE CLERK                            

Winfree, Paul L.              Employee    $155,000.00   Per Annum   DEPUTY ASSISTANT TO THE PRESIDENT AND DEPUTY DIRECTOR OF THE DOMESTIC POLICY COUNCIL AND DIRECTOR OF BUDGET POLICY

Worthington, Ross P.          Employee    $130,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT AND ADVISOR FOR STRATEGY AND SPEECHWRITING 

Young, Jr., Reginald D.       Employee     $72,648.00   Per Annum   SENIOR RECORDS MANAGEMENT ANALYST                                   



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                                                             WHITE HOUSE OFFICE
                                                           As of: Friday, June 30, 2017

NAME                     STATUS       SALARY      PAY BASIS                                                                  POSITION TITLE
Zadrozny, John A.        Employee    $95,000.00   Per Annum   SPECIAL ASSISTANT TO THE PRESIDENT FOR JUSTICE AND HOMELAND SECURITY POLICY

Zager, Samantha L.       Employee    $47,000.00   Per Annum   STAFF ASSISTANT                                             
          Total Count:   377




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